                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                        NO. 5:20-CV-396-FL

 SIAVASH MOJARRAD, Administrator of                 )
 THE ESTATE OF SOHEIL ANTONIO                       )
 MOJARRAD,                                          )
                                                    )
                        Plaintiff,                  )
                                                    )     CITY OF RALEIGH, NORTH
        v.                                          )   CAROLINA’S ANSWER TO FIRST
                                                    )      AMENDED COMPLAINT
 WILLIAM BRETT EDWARDS, in his                      )
 individual capacity, and CITY OF RALEIGH,          )
 NORTH CAROLINA,                                    )
                                                    )
                        Defendants.                 )

       NOW COMES the City of Raleigh, North Carolina (hereinafter the “City”); by and through

undersigned counsel and offers the following in answer to the numbered allegations of the First

Amended Complaint:

                                     FIRST DEFENSE: ANSWER

       1.      It is admitted that on April 20, 2019, Soheil Antonio Mojarrad (hereinafter,

“Plaintiff”) was 30-years old. It is further admitted that on April 20, 2019, Officer William Brett

Edwards (hereinafter, “Officer Edwards”), while on-duty as a City of Raleigh police officer and

attired in his full police uniform, attempted to question the Plaintiff after being advised by two

eyewitnesses that Plaintiff had taken a cellular telephone belonging to one of the eyewitnesses and

that Plaintiff had previously trespassed at a Sheetz gas station located at 5200 New Bern Avenue,

Raleigh, North Carolina (hereinafter, the “Sheetz”). It is further admitted that when Officer

Edwards attempted to speak to Plaintiff, Plaintiff began walking away and refused to obey Officer

Edwards’ lawful commands to stop. It is further admitted that during the entirety of their



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interaction, Plaintiff was hostile, profane and verbally abusive toward Officer Edwards. It is

further admitted that as Officer Edwards followed Plaintiff, Plaintiff turned toward Officer

Edwards, drew a folding knife from his pants pocket, and rapidly opened the blade. It is further

admitted that throughout their encounter, Officer Edwards attempted to calm Plaintiff down and

engage Plaintiff in conversation. It is further admitted that when Plaintiff brandished the knife,

Officer Edwards began issuing lawful orders for Plaintiff to drop the knife and continued to do so

for the remainder of their encounter. It is further admitted that Plaintiff escalated his hostile and

threatening behavior by defying Officer Edwards’ lawful commands and began approaching

Officer Edwards with the apparent intent to use the knife to harm Officer Edwards. It is further

admitted that Plaintiff’s hostile statements and threatening conduct caused Officer Edwards to

reasonably fear that he was in imminent danger of death or serious bodily injury, and that Officer

Edwards fired his service weapon in order to protect himself from Plaintiff. It is further admitted

that Plaintiff continued to threaten and attempt to approach Officer Edwards several times despite

Officer Edwards’ continued commands to stop and drop the knife. It is further admitted that

Plaintiff’s continued hostile statements and threatening conduct caused Officer Edwards to remain

in reasonable fear that he was in imminent danger of death or serious bodily injury, and that Officer

Edwards responded to the continued and imminent threat presented by Plaintiff by firing several

additional shots from his service weapon until Plaintiff no longer presented an imminent threat of

death or serious bodily injury. It is further admitted that Plaintiff continued to present an imminent

threat of death or serious bodily injury toward Officer Edwards until Officer Edwards had fired

approximately eleven shots in approximately four volleys, and that Plaintiff died as a result of the

wounds sustained in this encounter. Except as admitted herein, the allegations contained in this

paragraph are denied.



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          2.      It is admitted that Plaintiff continued to present an imminent threat of death or

serious bodily injury toward Officer Edwards until Plaintiff had been struck with eight bullets. It

is further admitted that Officer Edwards stopped firing when Plaintiff eventually dropped to his

knees and fell to the ground lying face up in the grass with his fingers still grasping the knife he

had used to threaten Officer Edwards. It is further admitted that Plaintiff remained as he had fallen

until additional police officers and paramedics arrived on the scene. It is further admitted, upon

information and belief, that when Plaintiff’s knife was tested by the N.C. State Crime Laboratory,

it retained no identifiable fingerprints. Except as admitted herein, the allegations contained in this

paragraph are denied.

          3.      It is admitted that Officer Edwards was wearing a body camera issued by the

Raleigh Police Department (hereinafter, the “RPD”), which he did not turn on for his interaction

with Plaintiff, and accordingly, there is no body camera footage of the incident. Except as admitted

herein, the allegations contained in this paragraph are denied.

          4.      The allegations contained in this paragraph are denied.

          5.      The allegations contained in this paragraph are admitted upon information and

belief.

          6.      The allegations contained in this paragraph are admitted.

          7.      It is admitted that the City was and is a political subdivision and city in the State of

North Carolina, and that the City is located in Wake County, North Carolina. It is further admitted

that Chief Cassandra Deck-Brown (hereinafter, “Chief Deck-Brown”) was at all relevant times the

Chief of Police for the City of Raleigh, North Carolina, that she served as the administrative head

of the RPD, and prepared the policies for the Department. It is further admitted that Ruffin Hall

was at all relevant times the City Manager for the for the City of Raleigh, North Carolina and had



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final approval over the policies implemented by the Raleigh Police Department. Except as

admitted herein, the allegations contained in this paragraph are denied.

       8.      It is admitted that at all times relevant herein, the City purchased liability insurance

providing certain coverage for certain claims in excess of one million dollars ($1,000,000.00) and

with a limit of liability of ten million dollars ($10,000,000.00). For all claims under one million

dollars ($1,000,000.00), the City was and remains wholly self-insured and has not waived its

immunity through the purchase of insurance. For all claims falling within the City’s one million

dollar ($1,000,000.00) self-insured retention, the City waives its governmental immunity only

pursuant to the Waiver of Immunity Interim Guidelines enacted by the Raleigh City Council on

January 19, 1999 and incorporated herein by reference. It is expressly denied that the City and any

of its agents, employees and officers waived any sovereign or governmental immunity applicable

to any of Plaintiff’s claims. Except as admitted herein, these allegations are denied.

       9.      The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required.

       10.     The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required.

       11.     The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required.

       12.     The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.

       13.     The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.




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          14.   The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.

          15.   The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.

          16.   The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.

          17.   The City lacks information sufficient to form a belief as to the truth or falsity of the

allegations contained in this paragraph. Therefore, these allegations are denied.

          18.   It is admitted that the Plaintiff died as a result of the wounds sustained in the

encounter described in response to paragraph 1 above. The City lacks information sufficient to

form a belief as to the truth or falsity of the remaining allegations contained in this paragraph.

Therefore, except as admitted herein, these allegations are denied.

          19.   It is admitted that in the approximate timeframe between 8:00 p.m. and 8:30 p.m.

on April 20, 2019, Plaintiff was at the Sheetz. It is further admitted that Plaintiff had visited the

Sheetz in the past and had been previously been asked to leave or been removed as a trespasser.

The City lacks information sufficient to form a belief as to the truth or falsity of the remaining

allegations contained in this paragraph. Therefore, except as admitted herein, these allegations are

denied.

          20.   It is admitted that Plaintiff had had interactions with the RPD prior to April 20,

2019, and that some of these interactions involved mental health issues.              The City lacks

information sufficient to form a belief as to the truth or falsity of the remaining allegations

contained in this paragraph. Therefore, except as admitted herein, these allegations are denied.

          21.   The allegations contained in this paragraph are admitted.



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          22.   It is admitted upon information and belief that prior to his shift, Officer Edwards

took a 20 mg dose of a generic formulation for Adderall. It is further admitted upon information

and belief, that Officer Edwards had been prescribed this medication by his physician in order to

help regulate Officer Edwards’ sleep cycles during changes in duty shifts. The City lacks

information sufficient to form a belief as to the truth or falsity of the remaining allegations

contained in this paragraph. Therefore, these allegations are denied

          23.   The allegations contained in this paragraph are admitted upon information and

belief.

          24.   It is admitted that Officer Edwards saw Plaintiff staring at him as he initially drove

his RPD vehicle into the Sheetz parking lot and before learning that the Plaintiff had taken a

cellular telephone that did not belong to him and had previously trespassed on the Sheetz property.

It is further admitted upon information and belief that at around 8:20 p.m., the Plaintiff left the

Sheetz on foot, taking with him a cellular telephone that was plugged into the wall inside the Sheetz

and that did not belong to him. It is further admitted that upon learning of Plaintiff’s activities

from the two witnesses, Officer Edwards concluded that the Plaintiff was likely staring at him as

he entered the Sheetz parking lot based on the assumption that Officer Edwards was responding to

a call regarding the cellular telephone or the trespassing. The City lacks information sufficient to

form a belief as to the truth or falsity of the remaining allegations contained in this paragraph.

Therefore, these allegations are denied.

          25.   It is admitted that after leaving the Sheetz, Plaintiff proceeded into the adjoining

shopping center and sat on a bench outside the Overtime Sports Pub located on the east corner of

the shopping center. It is further admitted that the cellular telephone taken by the Plaintiff from

the Sheetz was later found in a trashcan on the covered sidewalk in the shopping center. The City



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lacks information sufficient to form a belief as to the truth or falsity of the remaining allegations

contained in this paragraph. Therefore, these allegations are denied.

       26.     It is admitted that on April 20, 2019 at 8:30 p.m., the Raleigh-Wake Emergency

Communications Center received a call from an individual at Sheetz Security Operations asking

that police be dispatched to 5200 New Bern Avenue regarding a gentleman that had been

trespassing on the property earlier and had returned. When asked by the Raleigh-Wake Emergency

Communications dispatcher if weapons had been involved or mentioned, the caller from Sheetz

Security Operations responded that weapons had not been mentioned. When asked by the Raleigh-

Wake Emergency Communications dispatcher if anyone was presently in danger, the caller from

Sheetz Security Operations responded, “no.” Except as admitted herein, the allegations contained

in this paragraph are denied.

       27.     It is admitted that on April 20, 2019 at 8:33 p.m., Officer Edwards advised the

Raleigh-Wake Emergency Communications Center that he was located at 5200 New Bern Avenue.

The Emergency Communications dispatcher then advised Officer Edwards that a white male

wearing a green hat was reported to be trespassing at the Sheetz. Officer Edwards responded, “I

think he just walked over into the PVA of the – of the, uh, Food Lion.” Officer D. M. Thompson

then asked the Emergency Communications dispatcher to note that he would be checking in with

Officer Edwards.     It is further admitted that in the same timeframe, Officer Edwards was

approached by a Sheetz employee and a young male who reported that the trespasser had taken the

young male’s cellular telephone from the Sheetz. Except as admitted herein, the allegations

contained in this paragraph are denied.

       28.     The allegations contained in this paragraph are admitted.




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       29.     It is admitted that Officer Edwards observed Plaintiff sitting on a bench outside the

Overtime Sports Pub, that Officer Edwards parked his RPD vehicle in front of the pub, and began

approaching Plaintiff. It is further admitted that as Officer Edwards approached, Plaintiff rose

from the bench and began walking around the side of the building. The City lacks information

sufficient to form a belief as to the truth or falsity of the remaining allegations contained in this

paragraph. Therefore, except as admitted herein, these allegations are denied.

       30.     It is admitted that as Officer Edwards approached, Plaintiff rose from the bench and

began walking around the side of the building toward the rear of the shopping center buildings. It

is further admitted that Officer Edwards asked Plaintiff to stop to speak with him, and that Plaintiff

ignored Officer Edwards’ request. It is further admitted that Officer Edwards followed Plaintiff

in further attempt to speak with him. The City lacks information sufficient to form a belief as to

the truth or falsity of the remaining allegations contained in this paragraph. Therefore, except as

admitted herein, these allegations are denied.

       31.     It is admitted that at the time of Officer Edwards’ interaction with Plaintiff, no other

RPD officer had arrived. The City lacks information sufficient to form a belief as to the truth or

falsity of the remaining allegations contained in this paragraph. Therefore, except as admitted

herein, these allegations are denied.

       32.     It is admitted that Officer Edwards asked Plaintiff to stop to speak with him, and

that Plaintiff ignored Officer Edwards’ request. It is further admitted that Officer Edwards

followed Plaintiff in further attempt to speak with him. The City lacks information sufficient to

form a belief as to the truth or falsity of the remaining allegations contained in this paragraph.

Therefore, except as admitted herein, these allegations are denied.




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       33.     It is admitted that when Officer Edwards attempted to speak to Plaintiff, Plaintiff

became hostile, profane and verbally abusive toward Officer Edwards. It is further admitted that

as Officer Edwards followed Plaintiff, Plaintiff turned toward Officer Edwards, drew a folding

knife from his pants pocket, and rapidly opened the blade. It is further admitted that throughout

their encounter, Officer Edwards attempted to calm Plaintiff down and engage Plaintiff in

conversation. It is further admitted that when Plaintiff brandished the knife, Officer Edwards

began issuing lawful orders for Plaintiff to drop the knife and continued to do so for the remainder

of their encounter. It is further admitted that the distance separating Plaintiff from Officer Edwards

was approximately twenty feet or less throughout their interaction. The City lacks information

sufficient to form a belief as to the truth or falsity of the remaining allegations contained in this

paragraph. Therefore, except as admitted herein, these allegations are denied.

       34.     It is admitted that when Plaintiff brandished the knife, Officer Edwards began

issuing lawful orders for Plaintiff to drop the knife and continued to do so for the remainder of

their encounter. It is further admitted that Plaintiff escalated his hostile and threatening behavior

by defying Officer Edwards’ lawful commands and began approaching Officer Edwards with the

apparent intent to use the knife to harm Officer Edwards. It is further admitted that Plaintiff’s

hostile statements and threatening conduct caused Officer Edwards to reasonably fear that he was

in imminent danger of death or serious bodily injury, and that Officer Edwards fired his .45 caliber

service weapon in order to protect himself from Plaintiff. It is further admitted that Plaintiff

continued to threaten and attempt to approach Officer Edwards several times despite Officer

Edwards continued commands to stop and drop the knife. It is further admitted that Plaintiff’s

continued hostile statements and threatening conduct caused Officer Edwards to remain in

reasonable fear that he was in imminent danger of death or serious bodily injury, and that Officer



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Edwards responded to the continued and imminent threat presented by Plaintiff by firing several

additional shots from his service weapon until Plaintiff no longer presented an imminent threat of

death or serious bodily injury. It is further admitted that during the course of Officer Edwards’

attempts to protect himself from Plaintiff, Officer Edwards believed that he had partially emptied

the magazine of his service weapon. The City lacks information sufficient to form a belief as to

the truth or falsity of the remaining allegations contained in this paragraph. Therefore, except as

admitted herein, these allegations are denied.

       35.     It is admitted that during the course of Officer Edwards’ attempts to protect himself

from Plaintiff, Officer Edwards reloaded his service weapon. It is further admitted that Officer

Edwards fired one or more shots from the second magazine striking Plaintiff at least one more

time. The City lacks information sufficient to form a belief as to the truth or falsity of the

remaining allegations contained in this paragraph. Therefore, these allegations are denied.

       36.     It is admitted that Plaintiff continued to present an imminent threat of death or

serious bodily injury toward Officer Edwards until Officer Edwards had fired approximately

eleven shots in approximately four volleys, and Plaintiff had been struck several times. The City

lacks information sufficient to form a belief as to the truth or falsity of the remaining allegations

contained in this paragraph. Therefore, these except as admitted herein, allegations are denied.

       37.     It is admitted that Officer Edwards stopped firing his service weapon when Plaintiff

no longer presented an imminent threat of death or serious bodily injury. It is further admitted that

Plaintiff eventually dropped to his knees and fell to the ground lying face up in the grass with his

fingers still grasping the knife he had used to threaten Officer Edwards. It is further admitted that

Plaintiff remained as he had fallen until Officer Thompson arrived on the scene a very short time

later. The City lacks information sufficient to form a belief as to the truth or falsity of the



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remaining allegations contained in this paragraph. Therefore, except as admitted herein, these

allegations are denied.

          38.   It is admitted that Plaintiff eventually dropped to his knees and fell to the ground

lying face up in the grass with his fingers still grasping the knife he had used to threaten Officer

Edwards. It is further admitted that Plaintiff remained as he had fallen until Officer Thompson

and a paramedic employed by Wake County EMS arrived on the scene a very short time later. It

is further admitted upon information and belief that Plaintiff was pronounced dead at the scene.

The City lacks information sufficient to form a belief as to the truth or falsity of the remaining

allegations contained in this paragraph. Therefore, except as admitted herein, these allegations are

denied.

          39.   It is admitted, upon information and belief, that when Plaintiff’s knife was tested

by the N.C. State Crime Laboratory, it retained no identifiable fingerprints. Except as admitted

herein, the allegations contained in this paragraph are denied.

          40.   The allegations contained in this paragraph are denied.

          41.   The allegations contained in this paragraph are denied.

          42.   The allegations contained in this paragraph are denied.

          43.   The allegations contained in this paragraph are denied.

          44.   It is admitted that Chief Deck-Brown was asked to address the Raleigh City Council

on May 21, 2019 during the Council’s consideration of various options for a police oversight

board.      During her remarks to the City Council, Chief Deck-Brown highlighted the

accomplishments of the RPD, including its voluntary accreditation status. She listed several

statistics regarding police and community interactions, including 911 calls, self-initiated calls, and

traffic stops. Of the 375,800 interactions in 2018, a total of 49 internal affairs complaints were



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generated and 379 interactions involved use of force. 26 of the complaints were from citizens or

residents and 23 were internally generated. Among her remarks, Chief Deck-Brown stated, "I am

the first to say we're not a perfect organization, we're not a perfect department and neither do we

claim to be, but we strive very hard to recognize our shortcomings and work to overcome them."

Chief Deck-Brown also stated, "I must ask at what point does performance become so restrictive

that officers simply cannot do their jobs. They are the ones running towards danger at the risk of

their own lives," and that “trust works both ways. When we talk about accountability, our

community has a responsibility to be accountable for their own actions as well." It is further

admitted that on May 29, 2020, Chief Deck-Brown provided the following official statement in

response to the death of George Floyd while in custody of the Minneapolis Police Department:

       The incident occurring this week in Minneapolis is very disheartening and a
       concern to the law enforcement profession as a whole. While the vast majority of
       law enforcement officers serve with the highest degree of fairness, compassion and
       integrity, the actions of a few officers can create a ripple effect that has the potential
       to negatively impact us all.
       Officers are expected to uphold the professional standards that require adhering to
       proper training, protocols and procedures, not only here in Raleigh, but across the
       country. To act in any way that is contrary to upholding professional standards is
       unacceptable behavior that cannot and should not be rationalized, excused or
       overlooked.
       We call on law enforcement professionals everywhere to hold every human life of
       equal value; to demonstrate compassion; to strive to be instruments of positive
       change; to be deliberate in building better communities for all; and to be unrelenting
       in the important work of fostering trust and transparency.

Except as admitted herein, the allegations contained in this paragraph are denied.

       45.     The allegations contained in this paragraph are denied.

       46.     The allegations contained in this paragraph are denied.

       47.     It is admitted that on the evening of November 8, 1991, Officer Vincent Kerr was

one of several RPD officers participating in a buy/bust operation related to illegal drugs. Officer

Kerr was the first RPD officer to approach a group of suspects which included Ivan Ingram.
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Officer Kerr identified himself as a police officer and ordered the group of individuals to get on

the ground. Instead of complying with Officer Kerr’s commands, Ingram proceeded to walk away

from the group. Officer Kerr paralleled Ingram while continuing to shout commands to stop and

get on the ground. Ingram walked another fifteen to twenty feet before stopping and turning

towards Officer Kerr. Continuing to ignore Officer Kerr’s repeated commands, Ingram began a

series of movements and physical contortions before suddenly crouching and placing his left hand

into his left jacket pocket. Ingram then took a single large step, simultaneously closing the distance

between himself and Officer Kerr by two to three feet and pivoting to face Officer Kerr. Ingram

then proceeded to rise, pull his hand out of his pocket, and advance on Officer Kerr. Because

Ingram’s conduct caused Officer Kerr to reasonably believe that Ingram presented an imminent

threat of death or serious bodily injury, Officer Kerr fired a single shot at Ingram with his

Department-issued weapon. Ingram’s estate filed a wrongful death suit against the City and

Officer Kerr in Wake County Superior Court. The Court granted the City’s motion to dismiss and

granted Officer Kerr’s motion for summary judgment. Both rulings were later affirmed by the

North Carolina Court of Appeals. As the events concerning Officer Kerr’s interaction with Ivan

Ingram occurred twenty-nine years ago, the City lacks information sufficient to form a belief as to

the truth or falsity of Plaintiff’s allegation concerning Ingram being unarmed. Therefore, except

as admitted herein, the allegations contained in this paragraph are denied.

       48.     It is admitted that on March 11, 2004, RPD officer C. M. Keeler responded to a

shoplifting call at an ABC Store located at 2109 Avent Ferry Road. Upon arrival, Officer Keeler

encountered Derek Haithcock, who had just left the ABC Store without paying for a bottle of

liquor. While Haithcock complied throughout a patdown procedure and mini-search, when he was

handcuffed and questioned about his activities, he broke away and attempted to evade arrest.



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Officer Keeler pursued Haithcock and was ultimately able to restrain him and bring him to a prone

position in the parking lot. Haithcock’s continued attempts to fight and kick Officer Keeler

prompted several civilian witnesses to come to Officer Keeler’s assistance in restraining

Haithcock. Haithcock’s violent struggles included grinding his own face into the asphalt, causing

himself to bleed. Officer Keeler summoned assistance from other RPD officers and EMS. As

additional officers arrived, they assisted Officer Keeler in attempting to gain control of Haithcock

who continued to struggle. All civilian witnesses consistently reported that they never observed

the officers using any striking techniques and were quick to point out that the officers pleaded with

Haithcock to stop struggling and to calm down. However, anytime the officers began to relax their

attempts at restraint in response to Haithcock’s diminished struggling, this resulted in the officers

being kicked and struck again by Haithcock's thrashing legs and body. During their attempts to

gain control over Haithcock, officers noticed that Haithcock’s face was turning blue, yet he

continued to struggle. Haithcock was moved from his side to his back as his struggling subsided.

Haithcock lost consciousness and could not be revived. Haithcock was later pronounced dead at

Wake Medical Center.       Haithcock was determined to have been suffering from a bi-polar

condition, had previous mental commitments, had a history of assaulting his wife, was a drug

addict, and had committed several larcenies within the two-day period before his death. An

autopsy of Haithcock revealed that he died due to cocaine poisoning. Except as admitted herein,

the allegations contained in this paragraph are denied.

       49.     It is admitted that on November 2, 2004, RPD officer S. B. Wolfe and Sgt. Craig

Haines were dispatched to 4608 Brocton Drive to serve an arrest warrant on Navon L. Ligon.

Earlier in the day, Ligon’s girlfriend had sworn a warrant for Ligon’s arrest for assaulting her.

Ligon’s girlfriend reported that he had said to her that if police came one of them would not go



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home tonight. Ligon’s girlfriend also reported that Ligon had talked about wanting to die in the

past when he was drinking or high on drugs. As the officers approached the residence, they saw

Ligon and observed a sheath knife attached to Ligon’s belt. Ligon’s girlfriend heard the officers

telling Ligon to drop the knife and believed that the officers might have to shoot Ligon. Other

witnesses heard the officers repeatedly instructing Ligon to drop the knife and one witness saw the

officers attempting to subdue Ligon using pepper spray. The witness then observed Ligon pulling

the knife from its sheath and stepping toward Officer Wolfe who was approximately eight to ten

feet away. The witness believed that Ligon had became a potential threat to the officers and saw

Sgt. Haines fire his weapon one time causing Ligon to fall to the ground. Another witness believed

that Ligon was approximately five feet from the officers when he was shot. Sgt. Haines was then

heard calling for medical assistance for Ligon. Except as admitted herein, the allegations contained

in this paragraph are denied.

       50.     It is admitted that on August 28, 2005, former RPD Officer Michelle Peele was off-

duty and working providing security at La Rosa Linda’s Mexican Restaurant on New Bern Avenue

when she observed Nyles Arrington enter her personal vehicle and begin to drive away.            As

Arrington drove Peele’s vehicle in her general direction on his way out of the parking lot, Peele

fired a single shot that struck and killed Arrington. Following an administrative investigation, the

City terminated Peele’s employment on grounds that she had violated RPD Departmental

Operating Instruction 1108-1 (Use of Force and Weapons) which proscribes firing at moving

vehicles except under certain very limited circumstances.         Peele appealed her termination

administratively before filing an appeal to the Raleigh Civil Service Commission. The Raleigh

City Attorney’s Office vigorously defended the City’s decision to terminate Peele’s employment,

and the Civil Service Commission affirmed the City’s decision. Peele then filed a Petition for



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Judicial review in Wake County Superior Court as well as a separate unlawful termination lawsuit.

The Raleigh City Attorney’s Office represented the City in both Superior Court actions and the

City prevailed in both. Except as admitted herein, the allegations contained in this paragraph are

denied.

          51.   It is admitted that on April 10, 2013, RPD officers were dispatched in response to

three 911 calls made by different citizens reporting a disturbance near the 500 block of Mial Street.

One caller reported that a man who lived at 500 Mial Street was walking naked nearby, and

shouting obscenities. A second caller reported a disturbance with a male and possibly a female

screaming, and a third caller reported that Jeffrey Thomas Sadler had assaulted a young teen male.

Sadler, who was 6'2" tall and weighed 297 lbs. resided at 500 Mial Street and had a history of

mental illness and assaultive behavior. Officers S. M. Archambault and M. A. Ford were the first

two officers to arrive and encountered Sadler who was indeed naked, and acting irrational and

aggressive. Initially, Sadler was cooperative with the offices, but then spontaneously charged at

Officer Ford. Officer Ford retreated, while drawing his TASER and giving verbal commands to

Sadler. Sadler ignored Officer Ford’s commands and continued to charge at Officer Ford. Officer

Ford then fired his TASER at Sadler causing Sadler to go down. Officer Archambault approached

Sadler and attempted to handcuff him. However, after the TASER's 5-second cycle, Sadler

immediately began to resist Officer Archambault on the ground. Officer Ford activated the TASER

again, in an attempt to gain voluntary compliance from Sadler. Officer Archambault continued to

try to handcuff Sadler and began to gain some advantage over Sadler, but it was diminished as

Sadler again actively resisted after the TASER cycle. This process continued for a total of eleven

times until Sadler was successfully handcuffed. Pursuant to RPD policy, Officer Ford immediately

requested that EMS respond to medically evaluate Sadler. Before EMS arrived and while Sadler



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was still on scene and cumulatively monitored by four other RPD officers, he suffered a cardiac

event and died. Officers attempted CPR, and EMS appeared on scene very shortly thereafter. A

subsequent RPD internal review concluded that no RPD officers engaged in policy violations,

unethical behavior, or negligent inaction. Except as admitted herein, the allegations contained in

this paragraph are denied.

       52.     It is admitted that on September 14, 2015, RPD officers responded to a disturbance

call at 3032 Slippery Elm Drive. The first two officers to arrive found the original 911 caller who

reported that a male later identified as Carl King had ingested crack cocaine, was "going crazy,"

and may have kicked in the door to a neighbor's house. The Officers observed King sitting on the

floor of the entryway, naked, yelling, sweating profusely and swinging a wooden lamp back and

forth violently. The officers were able to grab the lamp and gain control of Kings hands. The

officers were only able to handcuff King in front of his body because King continued to resist and

bite the officers while screaming loudly and making growling sounds. Within minutes of

encountering King the officers recognized King’s behavior as a possible medical crisis. EMS and

additional check in officers were called to the scene. As additional officers arrived, they observed

the first two officers attempting to restrain King as he thrashed around and continued to scream

and growl. King’s handcuffs were reapplied behind his back in an attempt to better control him,

but King continued to thrash around, yell, growl and attempt to bite officers. A leg hobble restraint

was applied to King's legs in accordance with RPD policy in an attempt to stop him from kicking

and hurting himself or an officer. Upon arrival of EMS, protocols were initiated by medical

personnel and King was given a sedative in a further attempt to calm him. Shortly thereafter, EMS

and police personnel noticed that King's breathing became shallow and that he was unresponsive.

The handcuffs were immediately removed, and EMS personnel began CPR with assistance from



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RPD officers and members of the Raleigh Fire Department. While efforts were made to revive

King for approximately 30-40 minutes, he was pronounced deceased at the scene by medical

personnel. Except as admitted herein, the allegations contained in this paragraph are denied.

       53.     It is admitted that on February 29, 2016 there was an outstanding warrant for the

arrest of Akiel Denkins relating to felony drug charges. RPD officer D. C. Twiddy observed

Denkins on Bragg Street and began to approach Denkins who had turned and already begun to

walk away. Officer Twiddy told Denkins to stop and a foot pursuit ensued. When Officer Denkins

caught up with Denkins, Denkins stopped and turned toward Officer Twiddy. Officer Twiddy

grabbed Denkins in an effort to take him into custody and Denkins began to resist. While the two

struggled, Officer Twiddy felt Denkins reaching for an object in the front of his waistband. Officer

Twiddy observed Denkins start to pull a handgun from the front of his waistband and begin to

move it toward Officer Twiddy. While still struggling with Denkins, Officer Twiddy drew his

duty weapon and fired multiple shots as Denkins continued to move his own firearm in Officer

Twiddy’s direction. After the first shots were fired, Officer Twiddy felt Denkins’ hand or arm

make contact with his duty weapon. Reasonably fearing that Denkins was either going to shoot

him or attempt to disarm him of his duty weapon and in an attempt to protect himself from the

imminent use of deadly force, Officer Twiddy stepped back and fired additional shots at Denkins,

who still had his own firearm in his hand. Denkins fell to the ground and dropped the firearm.

Officer Twiddy then radioed for assistance. Additional police units and EMS personnel arrived,

and Denkins was pronounced dead at the scene. The handgun that Denkins had pulled from his

waistband was determined to have been reported stolen on January 31, 2016. While Officer

Twiddy’s patrol vehicle was equipped with a mobile video recorder, because the incident took

place away from the vehicle, and Officer Twiddy did not have reason to activate his blue lights,



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which trigger the camera, there was no dash cam video of the encounter between Officer Twiddy

and Denkins. Except as admitted herein, the allegations contained in this paragraph are denied.

       54.     It is admitted that on August 29, 2016, a resident at 241 Donald Ross Drive called

911 to report that there was a man with a gun outside her residence and that the man had previously

been told not to be there. RPD Officer B.K. Burleson was the first officer to arrive and spoke with

the resident, who identified the individual with the gun as her boyfriend, Jaqwan Julius Terry. The

resident reported that she had telephoned Terry earlier to tell him that she did not want to see him

anymore. Terry then came to the residence, behaved aggressively, displayed a handgun and told

her that he was not going to allow her to leave him. Terry, who had left the property prior to Officer

Burleson’s arrival, returned while Officer Burleson was speaking with the resident. The resident

pointed to Terry and identified him as the suspect. When Officer Burleson attempted to ask Terry

about the report of his earlier threatening behavior, Terry turned and ran. Officer Burleson

identified himself as a police officer, commanded Terry to stop, and began to pursue him while

radioing for assistance. Officer Burleson caught up with Terry as Terry attempted to climb a fence.

As Officer Burleson struggled to gain control of Mr. Terry, he gave multiple commands for Terry

to stop resisting and get down on the ground. As the two struggled in a crouched position, Officer

Burleson observed a handgun on the ground directly underneath Terry. Officer Burleson pushed

Terry in an unsuccessful attempt to distance him from the handgun. Terry picked up the handgun

and pointed it directly at Officer Burleson as Officer Burleson was attempting to stand up.

Reasonably believing that his life was in immediate danger, Officer Burleson drew his firearm and

fired at approximately the same time that Terry fired at Officer Burleson. Officer Burleson was

struck but continued to fire his weapon at Terry, who was continuing to point his weapon at Officer

Burleson. As Officer Burleson and Terry were exchanging gunfire, RPD Officer B. S. Beausoleil



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arrived and saw Terry pointing a firearm at Officer Burleson. Reasonably believing that Terry

posed an imminent deadly threat to Officer Burleson, Officer Beausoleil fired his weapon at Terry,

who fell to the ground, still holding the firearm. Additional units arrived and began to perform

first aid on both Officer Burleson and Terry. A short time later, EMS personnel arrived on the

scene. Both Officer Burleson and Terry were transported to WakeMed. Terry succumbed to his

wounds and died at the hospital. Officer Burelson’s and Officer Beausoleil’s patrol vehicles are

equipped with mobile video recorders (dash cams). Because Officer Burleson never had reason to

activate his blue lights, his camera was not recording. The recording from Officer Beausoleil’s

dash cam did not capture any images from the incident, as it occurred away from the vehicle, but

it did record audio of part of the event. Except as admitted herein, the allegations contained in this

paragraph are denied.

       55.     It is admitted that on January 14, 2020, RPD Officer M. R. Steyers conducted a

vehicle stop of a driver and vehicle that had just been involved in three previously reported hit and

run motor vehicle crashes. The driver, Braily Andres Batista-Concepcion, appeared to be under

the influence of an impairing substance and ignored multiple commands to place his hands on the

steering wheel and actively resisted Officer Steyers’ attempts to remove him from the vehicle.

With the assistance of RPD Officer K. A. Strachan, Batista-Concepcion was ultimately removed

from the vehicle but then refused to submit peacefully to handcuffing, including refusing to remove

his hand from a concealed position underneath his body. The officers used knee strikes and

restraining techniques to remove Batista-Concepcion from the vehicle and to secure him in

handcuffs. The officers’ decisions regarding use of force were based on the totality of the

circumstances including, observations of Batista-Concepcion's driving; knowledge of the danger

presented to the public by Batista-Concepcion in the immediate past as well as the potential for



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the danger to continue if Batista-Concepcion were not immediately apprehended; observations of

Batista-Concepcion's physical and mental condition; concern that Batista-Concepcion would

attempt to flee in the vehicle if not immediately removed and taken into custody; the actions of

other unrestrained occupants of the vehicle; Batista-Concepcion's lack of responsiveness to

commands; Batista-Concepcion’s repetitive non-sensical statements and behavior; Batista-

Concepcion's escalation of resistance and non-compliance to basic commands; and the failure of

lower levels of force to be effective. Body worn camera and dash camera video from each officer

supported the conclusion that the force used to take Batista-Concepcion into custody was

reasonable under the circumstances. It is further admitted that on January 30, 2020, RPD Officer

W. B. Tapscott was involved in an encounter with Keith Dutree Collins that resulted in the death

of Collins. The City has not yet concluded its investigation into the encounter between Collins

and Officer Tapscott. However, on January 30, 2020, Wake County District Attorney Lorrin

Freeman requested assistance from the North Carolina State Bureau of Investigation concerning

this incident, and based on the investigative findings, District Attorney Freeman concluded that

Officer Tapscott reasonably believed that his life was endangered when he shot Mr. Collins, that

the use of force by Officer Tapscott was lawful, and therefore criminal charges will not be pursued.

Except as admitted herein, the allegations contained in this paragraph are denied.

       56.     The allegations contained in this paragraph are denied.

       57.     It is admitted that Officer Edwards was equipped with a BWC and that his patrol

car was equipped with an MVR. It is further admitted that the RPD enacted Written Directive

1109-18, which governs the use of BWCs and MVRs on January 25, 2018, and that this policy

was prepared by Chief Deck-Brown and approved by City Manager Hall. Except as admitted

herein, the allegations contained in this paragraph are denied.



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       58.     It is admitted that Officer Edwards' MVR was powered on during his encounter

with Plaintiff and thus passively recorded video but did not record audio. On April 20, 2019, the

RPD’s MVR equipment had both active and passive recording modes. The MVR’s active

recording feature recorded video and audio and was engaged when manually activated by the user

or when a triggering event occurred. Active recordings of audio and video were preserved by the

MVR system. In addition to active recording, the MVR system also included a passive recording

feature known as “Record After the Fact” (hereinafter “RAF”). The RAF feature recorded video

any time that the unit was powered on even if active recording had not been engaged. The RAF

feature did not record audio. The MVR system was designed to store passive video recordings for

a short time and to automatically write over these passive recordings as the unit continued to

operate. Passive video recordings could be retrieved by the RPD if it was determined that there

was a need to retrieve the passively recorded video. At the time of his encounter with Plaintiff,

Officer Edwards’ MVR was powered on and in passive/RAF mode, but active recording had not

been engaged and no triggering event had occurred. It is further admitted that the RPD enacted

Written Directive 1109-18, which governs the use of BWCs and MVRs on January 25, 2018, that

this policy was prepared by Chief Deck-Brown and approved by City Manager Hall, and that the

provisions of this policy speak for themselves.       Except as admitted herein, the allegations

contained in this paragraph are denied.

       59.     It is admitted that Officer Edwards failed to activate his BWC. It is further admitted

that the RPD enacted Written Directive 1109-18, which governs the use of BWCs and MVRs on

January 25, 2018, that this policy was prepared by Chief Deck-Brown and approved by City

Manager Hall, and that the provisions of this policy speak for themselves. Except as admitted

herein, the allegations contained in this paragraph are denied.



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       60.     It is admitted that on April 20, 2019, the RPDs MVR and BWC equipment was

designed to sync when the two units were within range of one another. As explained in response

to paragraph 60 of the Complaint, the RPD’s MVR equipment had active and passive/RAF

recording features. On April 20, 2019, the passive recording feature of the RPD’s BWC equipment

had not been activated due to privacy concerns identified in internal RPD discussions as well as

through community feedback. Therefore, on April 20, 2019, the RPD’s BWC equipment was

limited to active recording. At the time of his encounter with Plaintiff, Officer Edwards’ BWC

did not have passive/RAF capability, active recording had not been engaged, and no triggering

event had occurred. Therefore, there was no audio or video recording of Officer Edwards’

encounter with Plaintiff captured by Officer Edward’s BWC. Except as admitted herein, the

allegations contained in this paragraph are denied.

       61.     It is admitted that when the RPD began considering deployment of body-worn

cameras, the RPD reviewed BWC policies from other law enforcement agencies across the nation

and drafted proposed BWC policy language (hereinafter, the “Draft BWC Policy”) to add to

Written Directive 1109-18. The RPD held internal meetings to review the Draft BWC Policy and

conducted public meetings to obtain community feedback regarding the Draft BWC Policy. The

Draft BWC Policy was further refined based on input received during these meetings. The RPD

then applied to the United States Bureau of Justice Assistance (hereinafter, the “USBJA”) for a

grant to partially fund the BWC equipment. As part of the grant application process, the RPD

submitted the Draft BWC Policy to the USBJA for review and approval. The USBJA reviewed

the Draft BWC Policy and recommended changes.            The RPD incorporated the USBJA’s

recommendations into the Draft BWC Policy and the USBJA awarded the grant funding to the

RPD. The final draft of the Draft BWC Policy that incorporated the recommendations of the



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USBJA was finalized as Written Directive 1109-18. Except as admitted herein, the allegations

contained in this paragraph are denied.

       62.     It is admitted that on April 25, 2019, Chief Deck-Brown issued “Special

Memorandum #2019 - 01: Change to DOI 1109-18 Body Worn Cameras and Mobile Video

Recording,” and that this Special Memorandum speaks for itself. Except as herein admitted, the

allegations contained in this paragraph are denied.

       63.     The allegations contained in this paragraph are denied.

       64.     The allegations contained in this paragraph are admitted.

       65.     It is admitted that the RPD enacted Written Directive 1108-01 which governs the

use of force and weapons on October 7, 2016, that this policy was prepared by Chief Deck-Brown

and approved by City Manager Ruffin Hall (hereinafter, “City Manager Hall”), that this policy

was in effect at the time of Plaintiff’s death, and that the provisions of this policy speak for

themselves. Except as admitted herein, the allegations contained in this paragraph are denied.

       66.     The allegations contained in this paragraph are denied.

       67.     It is admitted that the RPD enacted Written Directive 1108-01 which governs the

use of force and weapons on October 7, 2016, that this policy was prepared by Chief Deck-Brown

and approved by City Manager Hall, that this policy was in effect at the time of Plaintiff’s death,

and that the provisions of this policy speak for themselves. Except as admitted herein, the

allegations contained in this paragraph are denied.

       68.     It is admitted that the RPD enacted Written Directive 1108-01 which governs the

use of force and weapons on October 7, 2016, that this policy was prepared by Chief Deck-Brown

and approved by City Manager Hall, that this policy was in effect at the time of Plaintiff’s death,




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and that the provisions of this policy speak for themselves. Except as admitted herein, the

allegations contained in this paragraph are denied.

       69.     It is admitted that the RPD enacted Written Directive 1108-01 which governs the

use of force and weapons on October 7, 2016, that this policy was prepared by Chief Deck-Brown

and approved by City Manager Hall, that this policy was in effect at the time of Plaintiff’s death,

and that the provisions of this policy speak for themselves. Except as admitted herein, the

allegations contained in this paragraph are denied.

       70.     The allegations contained in this paragraph are denied.

       71.     The allegations contained in this paragraph are admitted.

       72.     The City denies that the RPD lacks any written or formal policy, custom or

standards regarding de-escalation of interactions with citizens in the field. The City further denies

that the RPD does not provide effective training for its officers regarding de-escalation techniques.

Finally, the City denies that the RPD does not otherwise require that its officers de-escalate

situations to minimize the need for any show or use of force.

       73.     The City denies that the RPD does not have any written crisis intervention

techniques or training regarding interaction in the field with persons suffering from mental health

issues or episodes. The City also denies that Crisis Intervention Training (hereinafter, “CIT”) is

“standard for law enforcement.” Instead, the adoption and implementation of CIT varies according

to the needs and resources of individual law enforcement agencies. The RPD has conducted

Mental Illness training for over twenty-five years as part of Basic Law Enforcement Training. In

addition, for approximately fourteen years, the RPD has given officers the opportunity to attend

an additional 40-hour CIT course conducted in conjunction with Alliance Behavioral Health/Wake

Technical Community College.        In August 2018, this additional 40-hour CIT training was



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incorporated into the RPD-specific portion of the Raleigh Police Academy curriculum. Except as

admitted herein, the allegations contained in this paragraph are denied.

          74.   The City denies that the RPD's written policies regarding interaction with mentally

ill persons is minimal and vague. The City admits that the statements quoted in this paragraph are

excerpts from RPD Written Directive 1109-12 entitled “Itinerants, Indebriates, and Mental Health

Consumers,” and that this Written Directive speaks for itself. Except as admitted herein, the

allegations contained in this paragraph are denied.

          75.   The allegations contained in this paragraph are denied.

          76.   The allegations contained in this paragraph are denied.

          77.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          78.   The allegations contained in this paragraph, including subparts (a) through (g) are

denied.

          79.   The allegations contained in this paragraph are denied.

          80.   The allegations contained in this paragraph are denied.

          81.   The allegations contained in this paragraph are denied.

          82.   The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          83.   The allegations contained in this paragraph are denied.

          84.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.




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          85.    The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          86.    The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          87.    The allegations contained in this paragraph, including subparts (a) through (h) are

denied.

          88.    [Sic]

          89.    [Sic]

          90.    [Sic]

          91.    The allegations contained in this paragraph are denied.

          92.    The allegations contained in this paragraph are denied.

          93.    The allegations contained in this paragraph are denied.

          94.    The allegations contained in this paragraph are denied.

          95.    The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          96.    The allegations contained in this paragraph are denied.

          97.    The allegations contained in this paragraph are denied.

          98.    The allegations contained in this paragraph are denied.

          99.    The allegations contained in this paragraph are denied.

          100.   The allegations contained in this paragraph are denied.




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          101.   The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          102.   The allegations contained in this paragraph are denied.

          103.   The allegations contained in this paragraph, including subparts (a) through (f) are

denied.

          104.   The allegations contained in this paragraph are denied.

          105.   The allegations contained in this paragraph are denied.

          106.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          107.   The allegations contained in this paragraph are denied.

          108.   The allegations contained in this paragraph are denied.

          109.   The allegations contained in this paragraph are denied.

          110.   The allegations contained in this paragraph are denied.

          111.   The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          112.   The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          113.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.




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          114.   The allegations contained in this paragraph constitute legal conclusions or prayers

for relief to which no responsive pleading is required. To the extent that a response is required,

the allegations contained in this paragraph are denied.

          115.   The allegations contained in this paragraph are denied.

          116.   The allegations contained in this paragraph, including subparts (a) through (d) are

denied.

          117.   The allegations contained in this paragraph are denied.

          118.   The allegations contained in this paragraph are denied.

          119.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          120.   It is admitted that at all times relevant herein, Officer Edwards was employed by

the City as an officer in the RPD, and that City Manager Hall was the ultimate policymaker for the

policies, customs, and practices of the RPD. Except as admitted herein, the allegations contained

in this paragraph are denied.

          121.   The allegations contained in this paragraph are denied.

          122.   The allegations contained in this paragraph are denied.

          123.   The allegations contained in this paragraph, including subparts (a) through (k) are

denied.

          124.   The allegations contained in this paragraph are denied.

          125.   The allegations contained in this paragraph are denied.

          126.   The allegations contained in this paragraph are denied.

          127.   The allegations contained in this paragraph are denied.




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          128.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          129.   It is admitted that the City was responsible for providing law enforcement training

to officers in the RPD that conformed to standards mandated by the State of North Carolina.

Except as admitted herein, the allegations contained in this paragraph are denied.

          130.   The allegations contained in this paragraph are denied.

          131.   The allegations contained in this paragraph, including subparts (a) through (l) are

denied.

          132.   The allegations contained in this paragraph are denied.

          133.   The allegations contained in this paragraph are denied.

          134.   The allegations contained in this paragraph are denied.

          135.   The allegations contained in this paragraph are denied.

          136.   The allegations contained in this paragraph are denied.

          137.   The City incorporates by reference their responses to the preceding paragraphs as

if fully restated herein.

          138.   The allegations contained in this paragraph are denied. The City incorporates by

reference its Tenth Defense set forth herein.

          139.   The allegations contained in this paragraph, including subparts (a) through (h) are

denied.

          140.   The allegations contained in this paragraph are denied.

          141.   The allegations contained in this paragraph are denied.

          142.   The allegations contained in this paragraph are denied.




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                                       SECOND DEFENSE

        As an affirmative defense, and to the extent that Plaintiff seeks to recover punitive damages

from the City,

   a)    no statutory basis exists to support an award of punitive damages against the City arising
         out of negligence or constitutional claims;

   b)    such claim for punitive damages is barred or limited by Chapter 1D of the North Carolina
         General Statutes and by common law principles; and

   c)    such claims violate the Constitution of the United States in that they seek to deprive the
         City of property without due process of law, violate the Constitution’s provisions
         concerning equal protection, and violate the Constitution’s prohibition against the
         imposition of excessive fines.

                                        THIRD DEFENSE

        As an affirmative defense, the City is a municipal corporation which was, at all times

relevant herein, performing law enforcement services, a governmental function. The City and its

law enforcement officers, in their official capacities are protected by governmental immunity in

the performance of governmental functions, and this immunity has not been waived. Therefore,

governmental immunity is pled in bar of any right to recovery in this action.

                                       FOURTH DEFENSE

        As an affirmative defense, at all times relevant herein, Officer Edwards acted within the

course and scope of his employment as a sworn law enforcement officer without malice or

corruption. Public Official’s Immunity bars Plaintiff’s common law claims against Officer

Edwards in his individual capacity. Because Public Official’s Immunity bars Plaintiff’s common

law claims against the Officer Edwards in his individual capacity, the City cannot be held

vicariously liable for the conduct Officer Edwards.




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                                        FIFTH DEFENSE

       As an affirmative defense, at all times relevant herein, Officer Edwards acted within the

course and scope of his employment with the City, his conduct was objectively reasonable under

the circumstances, and his conduct did not violate any clearly established statutory or

Constitutional rights of the Plaintiff.    Because Officer Edwards’ conduct was objectively

reasonable, the Plaintiff’s claims are barred by qualified immunity. Because qualified immunity

bars Plaintiff’s claims against Officer Edwards in his individual capacity, the Plaintiff’s claims

against the City based on Officer Edwards’ conduct are likewise barred.

                                        SIXTH DEFENSE

       As an affirmative defense, to the extent that Officer Edwards acted with malice or

corruption and that such conduct proximately caused injury to Plaintiff, which is specifically

denied, such malicious or corrupt conduct was not within the course and scope of Officer Edwards’

employment with the City of Raleigh and cannot form the basis of liability against the City.

Therefore, to the extent that this Court or a jury determines that Officer Edwards acted maliciously

or corruptly, then the City has no vicarious liability for Officer Edwards’ acts committed outside

the course and scope of City employment.

                                      SEVENTH DEFENSE

       As an affirmative defense, the City and its leaders have (1) implemented policies

concerning arrest and use of force; (2) conducted appropriate training of all of its police officers;

(3) and appropriately investigated claims of excessive uses of force by its police officers. These

policies, customs, and training comport with the United States Constitution and are pled in bar of

any recovery in this action.




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                                            EIGHTH DEFENSE

         As an affirmative defense, no act or actionable omission by the City was a proximate cause

of any of the alleged violations or damages Plaintiff seeks to recover.

                                            NINTH DEFENSE

         As an affirmative defense, no persistent and widespread policy or custom of the City caused

or resulted in a deprivation or violation of Plaintiff’s Constitutional rights. Therefore, the City has

no liability to Plaintiff in this action.

                                            TENTH DEFENSE

         As an affirmative defense, to the extent that the City or any of its employees, acting within

the course and scope of their employment with the City, were negligent or grossly negligent and

such negligence or gross negligence was the proximate cause of any injury to Plaintiff, which is

specifically denied, then the Plaintiff by his own negligence and gross negligence contributed to

the injuries and damages described in the Complaint in the following particulars:

    a)     The Plaintiff deliberately and intentionally engaged in criminal conduct in the presence
           of a law enforcement officer;

    b)     The Plaintiff deliberately and intentionally refused to comply with the reasonable and
           lawful commands of a law enforcement officer when compliance would have avoided
           the officer’s need to arrest Plaintiff or use force to effect the arrest;

    c)     The Plaintiff deliberately and intentionally engaged in verbal and physical conduct of an
           unreasonable, aggressive, confrontational, and uncooperative nature which forced the
           officer to arrest the Plaintiff and to use reasonable force to effect the arrest and overcome
           Plaintiff’s resistance;

    d)     The Plaintiff refused to submit to a lawful arrest;

    e)     The Plaintiff unlawfully resisted, delayed, and obstructed a law enforcement officer in
           the performance of his duties;

    f)     The Plaintiff’s unreasonable, aggressive, confrontational, violent, and threatening
           conduct forced the officer to escalate his use of force;



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    g)    The Plaintiff deliberately and intentionally engaged in physical conduct of an
          unreasonable, aggressive, confrontational, violent, and threatening nature which caused
          the officer to reasonably conclude that Plaintiff’s conduct presented an imminent threat
          of death or serious bodily injury and necessitated the officer’s use of reasonable force to
          protect himself from the Plaintiff; and

    h)    The Plaintiff was negligent and/or grossly negligent in other ways that will be shown
          through discovery and at trial.

Plaintiff’s own negligence and gross negligence proximately caused and contributed to the

damages or losses that Plaintiff seeks from the City and is specifically pled in bar of any right to

recover in this action.

                                      ELEVENTH DEFENSE

         As an affirmative defense, the Plaintiff acted in a manner so as to violate the rights of

others. The Plaintiff’s constitutional rights, if any, are subordinate to and yield to the rights of

innocent third parties whose rights the Plaintiff violated. The City pleads the Plaintiff’s conduct in

bar of any constitutional claim.

          INCORPORATION OF OFFICER EDWARD’S AFFIRMATIVE DEFENSES

         With respect to any of Plaintiff’s claims against the City which are grounded in derivative

liability, vicarious liability, or respondeat superior, the City incorporates by reference as if fully

restated herein all affirmative defenses pled by Officer Edwards in his individual capacity; and to

the extent that any of Plaintiff’s claims are defeated in whole or in part by these defenses, any

vicarious liability assigned to the City is likewise extinguished.

                                   RESERVATION OF RIGHTS

         The City reserves the right to amend its Answer to the First Amended Complaint and to

assert additional affirmative defenses as the claims of the Plaintiff are more fully disclosed during

the course of this litigation.




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                                           JURY DEMAND

       Pursuant to North Carolina General Statutes § 160A-485(d), the City of Raleigh does not

request a trial by jury on issues related to insurance or governmental immunity. The City does,

however, request a trial by jury on all other issues of fact so triable herein.

       WHEREFORE, having responded to the allegations of the First Amended Complaint, the

City respectfully requests that:

       1.       Plaintiff’s prayer for relief be denied in its entirety;

       2.       Plaintiff have and recover nothing of the City;

       3.       The costs of this action, including reasonable attorney’s fees, be taxed against the

                Plaintiffs and

       4.       For such other and further relief as this Court deems just and proper.

       This the 3rd day of May, 2021.


                                                CITY OF RALEIGH
                                                Robin L. Tatum
                                                City Attorney



                                                By:     /s/ Hunt K. Choi
                                                        HUNT K. CHOI
                                                        Deputy City Attorney
                                                        NC State Bar No. 24172
                                                        Post Office Box 590
                                                        Raleigh, North Carolina 27602
                                                        Telephone: (919) 996-6560
                                                        Facsimile: (919) 996-7021
                                                        Email: hunt.choi@raleighnc.gov
                                                        Counsel for City of Raleigh, North Carolina




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of May 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

following:

   Catherine E. Edwards, Esq.                       Dan M. Hartzog, Jr., Esq.
   Winston S. Kirby, Esq.                           Katherine Barber-Jones, Esq.
   Edwards Kirby, LLP                               Hartzog Law Group, LLP
   P.O. Box 17005                                   1903 N. Harrison Avenue, Suite 200
   3201 Glenwood Avenue, Suite 100                  Cary, North Carolina 27513
   Raleigh, NC 27619                                Attorneys for Defendant William Brett
   Attorneys for Plaintiff Siavash Mojarrad         Edwards
   Email: cedwards@edwardskirby.com                 Email: dhartzogjr@hartzoglawgroup.com
          wkirby@edwardskirby.com                          Kbarber-jones@hartzoglawgroup.com


And I hereby certify that I have mailed the document to the following non CM/ECF participants:



       Respectfully submitted,

       This the 3rd day of May 2021.

                                              CITY OF RALEIGH
                                              Robin L. Tatum
                                              City Attorney



                                              By:     /s/ Hunt K. Choi
                                                      HUNT K. CHOI
                                                      Deputy City Attorney
                                                      NC State Bar No. 24172
                                                      Post Office Box 590
                                                      Raleigh, North Carolina 27602
                                                      Telephone: (919) 996-6560
                                                      Facsimile: (919) 996-7021
                                                      Email: hunt.choi@raleighnc.gov
                                                      Counsel for City of Raleigh, North Carolina




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